

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. PD-0880-11





ANDREA NICOLE ALCALA, Appellant


                  

v.



THE STATE OF TEXAS





ON APPELLANT'S PETITION FOR DISCRETIONARY REVIEW


FROM THE SEVENTH COURT OF APPEALS


POTTER COUNTY





		Per curiam.  Keasler and Hervey, JJ., dissent.

									

O R D E R 



	The petition for discretionary review violates Rule of Appellate Procedure 68.4(i)
because it does not contain a copy of the opinion of the court of appeals.

	The petition is struck.  See Rule of Appellate Procedure 68.6.

	The petitioner may redraw the petition.  The redrawn petition and copies must be filed
in the Court of Criminal Appeals within thirty days after the date of this order.

Filed: July 27, 2011

Do Not Publish



